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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

                                                 *
STEVIE BURTON                                    *           Civil Case No. AW-11-314
                                                 *           Crim Case No. AW-04-0559
            v.                                   *
                                                 *
                                              ******
UNITED STATES OF AMERICA


                              MEMORANDUM OPINION


       Before the Court is a Motion/Petition to Vacate filed by the Petitioner/Defendant, Stevie

Burton for relief pursuant to 18 U.S.C. ' 2255. On February 5, 2005, Petitioner pled guilty to

conspiracy to distribute cocaine and cocaine base (count I), and possession of a firearm in

furtherance of a drug trafficking crime (count II). On June 12, 2006, Petitioner filed a motion to

withdraw his guilty plea which was denied by this Court on November 17, 2007. Petitioner was

sentenced on February 27, 2008 to a term of 292 months as to count I and a consecutive term of

60 months on count II. Petitioner noted his appeal and on November 6, 2009, the judgment and

conviction was affirmed in an unreported decision by the United States Court of Appeals for the

Fourth Judicial Circuit. The mandate was issued by the Fourth Circuit on November 30, 2009.

Petitioner did not file a petition for writ of certiorari to the United States Supreme Court. On

June 18, 2010, Petitioner filed a “Supplemental Motion for Retroactive Application of sentencing

Guidelines to Crack Cocaine Offense pursuant to 18 U.S.C. 3582 © (2).” On November 9,

2010, the Court granted the Supplemental Motion and issued an order reducing the previously

imposed (2-28-07) sentence of 292 as to Count One to 235 months. The sentence as to Count II

remained the same.
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         The present § 2255 Motion was filed on February 4, 2011, 2010 (by Petitioner’s wife,

Mia who seeks “next friend status”), and the filing was duplicated 5 days later on February 9,

2011 when Petitioner himself filed the Motion. The Motion is based upon three claims of

ineffective assistance of counsel all surrounding Petitioner’s motion to withdraw his guilty plea.

The Government has not responded to the merits of the claims itself but rather the Government

has responded to the Motion by moving to dismiss Petitioner’s § 2255 Motion as time barred.

The instant Motion was filed on or about February 4, 2011. Under 28 U.S.C § 2255 (f) a 1-year

period of limitation shall apply to a motion under this section. The limitation period shall run

from the latest of-- (1) the date on which the judgment of conviction becomes final.

       There appears to be a dispute as to the date the judgment of conviction became final. The

Government cites a Fourth Circuit case that directly held contrary to Petitioner on this issue, i.e.

that “where a defendant decides not to pursue relief in the Supreme Court, his conviction

becomes final upon the issuance of the court of appeal’s mandate.” United States v. Torres, 211

F.3d 836, 839 (4th Cir.2000). What the Government did not mention is that Torres has been

overruled by the Supreme Court. In Clay v, United States, 537 U.S. 522 (2003), the Supreme

Court referred to Torres (and a Seventh Circuit case Torres was based upon) and took directly

the opposite view, holding that “a judgment of conviction becomes final when the time expires

for filing a petition for certiorari contesting the appellate court’s affirmance of the conviction. “

Id at 525. When we do the math, we find that the Fourth Circuit’s opinion was issued on

November 6, 2009. Next we calculate the one year plus 90 days from that date to figure out

Petitioner’s § 2255 deadline. One year and 90 days after November 6, 2009 is exactly February

4, 2011. The Motion/Petition, then appears to be timely. Therefore, the Court need not address

the Government’s argument challenging the suggestion that the final judgment in Petitioner’s

case was on November 9, 2010—the date of the Court’s modification order pursuant to 18
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U.S.C. 3582 (c ) (2) reducing the term of imprisonment as to Count I.

       In short, the Court believes that Petitioner has timely filed the 28 § 2255 Motion within

one year when the judgment became final [11-6-09 plus calculating the additional 90 days

Petitioner has under Supreme Court Rule 13 (1)]. The Government’s request to dismiss the §

2255 Motion must be denied.

       The Court will direct the Government to respond to the merits of the Motion. A separate

Order will be issued.



Date: July 22, 2011                                 ________________/s/______________
                                                     Alexander Williams, Jr.
                                                     United States District Judge




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